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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 AZURITY PHARMACEUTICALS, INC.,                 )
                                                )
               Plaintiff,                       )     C.A. No. 21-1286-LPS
                                                )     C.A. No. 21-1455-LPS
       v.                                       )
                                                )     REDACTED - PUBLIC VERSION
 BIONPHARMA INC.,                               )
                                                )
               Defendant.                       )


      AZURITY PHARMACEUTICALS, INC.’S OPPOSITION TO DEFENDANT
            BIONPHARMA, INC.’S SECOND MOTION TO DISMISS


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I.       INTRODUCTION

         Plaintiff Azurity Pharmaceuticals, Inc. (“Azurity”) respectfully opposes Defendant

Bionpharma, Inc.’s (“Bionpharma”) Motion to Dismiss for Failure to State a Claim. D.I. 97 &

98.1 Bionpharma’s arguments are without merit and contrary to the case law; its motion should

therefore be denied.

         Bionpharma makes two arguments, both of which are wrong.         Bionpharma first argues

Azurity’s dismissals of its claims against CoreRx, Inc. (“CoreRx”) serve as an “adjudication upon

the merits,” but this contravenes both the nature of the dismissals and case law. Both actions

against CoreRx were dismissed pursuant to an agreement between the parties, not the unilateral

action of Azurity, and therefore the “two-dismissal” rule is inapplicable. Bionpharma’s second

argument builds on its first erroneous argument and asserts that these dismissals apply to

Bionpharma, a nonparty. But this argument also runs afoul of established law and privity

principles. Even if the two-dismissal rule applies, which it does not, the rule would not apply to

Bionpharma as Bionpharma is a nonparty not in privity with CoreRx. Thus, Bionpharma’s second

attempt to dismiss this case should be rejected and its motion denied.

II.      NATURE AND STAGE OF THE PROCEEDINGS

         Azurity filed suit on June 22, 2021 alleging infringement of U.S. Pat No. 11,040,023 (the

“’023 Patent”) in the District of New Jersey. D.I. 1.2 The case was subsequently transferred to

the District of Delaware. D.I. 57. Prior to transfer, Bionpharma filed its First Motion to Dismiss


1
    Citations to docket entries are to the docket for C.A. No. 21-1286-LPS unless otherwise noted.
2
  Azurity also filed suit on October 15, 2021 alleging infringement of U.S. Pat. No. 11,141,045
(the “’045 Patent”) (21-1455 D.I. 1) (with the ’023 Patent, the “Asserted Patents”). Notably, both
actions were filed before the CoreRx suits.




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on claim preclusion grounds. D.I. 8. After oral argument on November 10, 2021, this motion was

denied. D.I. 87. Azurity’s Amended Complaint was entered on November 10, 2021. D.I 73; D.I.

87.

       After oral argument on November 10, 2021, the Court ordered the parties to submit a

litigation schedule on or before November 23, 2021. On the Friday before the schedule was to be

submitted, Bionpharma asked Azurity for a courtesy 2-week extension to both Bionpharma’s

answer and the submission of a schedule to December 7, 2021. D.I. 94; D.I. 95. On December 6,

2021, instead of filing its answer, Bionpharma filed the instant Second Motion to Dismiss, this

time arguing Azurity’s complaint fails to state a claim upon which relief can be granted. D.I. 97.

III.   THE CORERX SUITS

       CoreRx manufactures and sells Bionpharma’s ANDA Product to Bionpharma. Ex. A

(Azurity Pharmaceuticals, Inc. v. CoreRx, Inc., No. 21-2515, D.I. 1 (M.D. Fla. Oct. 26, 2021)),

¶ 20. On October 26, 2021, Azurity sued CoreRx in the Middle District of Florida for infringement

of the ’023 and ’045 Patents. Id. CoreRx is incorporated and has its principal place of business in

Florida. Id., ¶¶ 3, 6. Summons for this suit were returned executed on November 2, 2021. No.

21-2515 D.I. 11. On October 27, 2021, Azurity sued CoreRx in the District of Delaware based on

the same acts of infringement. Azurity Pharmaceuticals, Inc. v. CoreRx, Inc., No. 21-1522, D.I. 1

(D. Del. Oct. 27, 2021). Azurity filed this second suit against CoreRx because CoreRx’s alleged

infringing product was the same product at issue in two other pending litigations Azurity had filed

against Bionpharma in the District of Delaware. Id., ¶ 6.

       Ultimately, no battle ensued over which jurisdiction was the appropriate forum for the

CoreRx action because Azurity and CoreRx were able to reach a mutual agreement that resolved




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the suits.3 As CoreRx had not appeared in either case, with consent from CoreRx, Azurity styled

the agreed-upon dismissals as “notices” in accordance with Fed. R. Civ. P. 41(a)(1)(A)(i).

Declaration of Amit M. Patel (“Patel Decl.”), ¶ 7; Ex. B (M.D. Fla. No. 21-2515 D.I. 16, Notice

of Dismissal); D. Del. No. 21-1522 D.I. 6. After Bionpharma filed the instant Motion to Dismiss,

Azurity and CoreRx jointly moved to reopen the case in the Middle District of Florida for the sole

purpose of submitting a stipulated dismissal to reflect more accurately the joint nature of the

dismissal.4 Ex. C (M.D. Fla. No. 21-2515 D.I. 18, Joint Motion to Reopen and Joint Stipulation

of Dismissal).

       Bionpharma, understanding and admitting that a stipulated dismissal between Azurity and

CoreRx precludes its motion to dismiss against Azurity, moved to intervene. Ex. D (M.D. Fla.

No. 21-2515 D.I. 21, Bionpharma’s Motion to Intervene). Bionpharma did so because, as

acknowledged in its filing, it cannot maintain this motion to dismiss in the face of the parties’ joint

dismissal. However, Bionpharma’s attempt to intervene does not have any effect on the intended

nature of the joint dismissal, i.e., to dismiss the action pursuant to the agreement between Azurity

and CoreRx, as evidenced by the joint filing itself. Azurity will oppose Bionpharma’s motion to

intervene and will file its opposition brief on or before December 27, 2021.




3
 Pursuant to the terms of the agreement, Azurity is prohibited from disclosing the agreement;
however, if this Court requires production of the agreement, Azurity will provide a copy consistent
with its obligations under the agreement.
4
  Bionpharma filed a letter to the Court on December 13, 2021 allegedly updating the Court
regarding the status of the Florida action against CoreRx. D.I. 103. While Azurity agrees that
changing the nature of the dismissal on the record in that action to a stipulated joint dismissal
moots Bionpharma’s instant motion, Azurity resoundingly disputes the rest of Bionpharma’s
incorrect and untrue allegations. Azurity looks forward to addressing those spurious allegations at
the appropriate time or at the Court’s request.
                                                                                     (continued...)

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       Further demonstrating its adverse position vis-á-vis CoreRx, Bionpharma recently filed an

action against CoreRx in the District Court for the Southern District of New York for breach of

contract. Ex. E. In that action, Bionpharma alleges CoreRx is in breach of the supply agreement

between Bionpharma and CoreRx. Id., ¶ 26. This agreement was for CoreRx to manufacture and

sell product to Bionpharma. Id., ¶ 19. CoreRx has notified Bionpharma that CoreRx will not be

able to supply CoreRx with that product. Id., ¶ 17.5

IV.    SUMMARY OF THE ARGUMENT

       Bionpharma’s argument fails on all counts. As both dismissals of the CoreRx suit were

pursuant to an agreement between the parties and not a unilateral decision by Azurity, the “two-

dismissal” rule does not apply. Even assuming, arguendo, the “two-dismissal” does apply and the

second dismissal against CoreRx acted as an adjudication on the merits, the result does not extend

to Bionpharma as Bionpharma was a nonparty to Azurity’s suits against CoreRx, nor is

Bionpharma the same, substantially the same, or in privity with CoreRx.

V.     ARGUMENT

       A.      Legal Standards

       With respect to the “two-dismissal” rule, the party attempting to invoke the rule must prove

its applicability by a preponderance of the evidence. St. Clair Intellectual Prop. Consultants v.

Samsung Elecs. Co., 291 F.R.D. 75, 78-79 (D. Del. 2013). As the penalty associated with the

“two-dismissal” rule is severe, courts must be careful to strictly construe the rule to avoid

extending “the scope of such a narrow exception when the purpose for the exception would not be

served.” Id. at 79 (quoting Sutton Place Dev. Co. v. Abacus Mortg. Inv. Co., 826 F.2d 637, 640

(7th Cir. 1987)); see also CAC Mar., Ltd. v. Redbrick Ventures, Ltd., No. 21-202-RGA, 2021 WL


5
 CoreRx also notified Bionpharma that CoreRx will be unable to fulfill the entire order of
Bionpharma’s product to Bionpharma. Id., ¶ 22.

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3048405, at *1 (D. Del. July 20, 2021) (“Where the purpose behind the ‘two dismissal’ exception

would not appear to be served by its literal application, and where that application’s effect would

be to close the courthouse doors to an otherwise proper litigant, a court should be most careful not

to construe or apply the exception too broadly.”) (quoting Poloron Prods., Inc. v. Lybrand Ross

Bros. & Montgomery, 534 F.2d 1012, 1017 (2d Cir. 1976)).

       Where the parties mutually agree to dismiss, despite the dismissals being styled as a notice,

the two-dismissal rule is inapplicable:

       A second dismissal as contemplated by this provision preceded by a dismissal by
       stipulation knowingly consented to by all the parties does not trigger the two
       dismissal rule. The rationale for this exception stems from the underlying policy
       of the rule. The primary purpose of the “two dismissal” rule is to prevent an
       unreasonable use of the plaintiff’s unilateral right to dismiss an action prior to the
       filing of defendant’s responsive pleading. However, the danger of abuse of this
       right lessens when the original dismissal stems from mutual agreement.

Sysco Corp. v. Chi-Chi’s, Inc., 338 B.R. 618, 624 (Bankr. D. Del. 2006) (emphasis added); see id.

at 627 (holding movant had not shown the “two-dismissal” rule to be applicable and declining to

apply the rule).

       If a third party alleges the preclusive effects of the “two-dismissal” rule extend to the third

party, a court applies the “two-dismissal” rule if the third party is “the same, substantially the same,

or in privity” with the prior defendant or the two entities are “sufficiently interrelated so that they

share the same legal rights.” St. Clair, 291 F.R.D. at 78. This Court has looked to the Taylor

factors to determine whether the “two-dismissal” rule should be extended to a third party:

       (1) where a non-party agreed to be bound to the prior judgment; (2) where there is
       a preexisting substantive legal relationship between the non-party and the party; (3)
       where the non-party was adequately represented by someone with the same
       interests as the non-party; (4) where the non-party assumed control of the litigation
       leading to the prior judgment; (5) where the non-party would otherwise be
       relitigating through a proxy; and (6) where a special statutory scheme applies.




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St. Clair Intellectual Prop. Consultants Inc. v. Samsung Elecs. Co., No. 12-69-LPS, 2020 WL

6799261, at *4 (D. Del. Nov. 19, 2020) (citing Taylor v. Sturgell, 553 U.S. 880, 893-95 (2008)

(internal quotations omitted).

       B.      Bionpharma’s Motion to Dismiss Should Be Denied

               1.      The “two-dismissal” rule does not apply

       The dismissals against CoreRx cannot operate as an adjudication on the merits because

both dismissals stemmed from an agreement between the parties, not a unilateral decision by

Azurity to dismiss the action. The “two-dismissal” rule protects defendants from a plaintiff filing

numerous lawsuits, only to subsequently dismiss these lawsuits unilaterally, thereby harassing the

defendant and burdening the judicial system. CAC Mar., 2021 WL 3048405 at *1; Catbridge

Mach., LLC v. Cytec Engineered Materials Inc., No. 12-137 (SDW), 2012 WL 2952434, at *5

(D.N.J. Apr. 19, 2012); Sysco, 338 B.R. at 625 (“The purpose of the ‘two dismissal’ rule, pointed

out in numerous decisions, is to prevent unreasonable abuse and harassment, by plaintiff securing

numerous dismissals without prejudice.”) (quoting Sutton Place, 826 F.2d at 640). That is clearly

not what transpired here as the parties resolved the litigation by mutual agreement. Patel Decl., ¶

6.

       When a plaintiff’s actions, regardless of how the dismissal is styled, are the result of an

agreement between the parties, the rationale underlying the “two-dismissal” rule is moot and its

enforcement improper. See CAC Mar., 2021 WL 3048405 at *3 (declining to construe two

previous dismissals as “strictly voluntary dismissals under Rule 41(a)(1)” when doing so “would

do injustice . . . and run contrary to the ‘basic purpose of the Federal Rules to administer justice

through fair trials’”) (quoting Poloron Prods., 534 F.2d at 1017); Sysco, 338 B.R. at 624-25

(explaining that the “two-dismissal” rule does not apply if “the first dismissal was in essence, if

not in form, by stipulation”).

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       Here, although Azurity’s dismissals of its suits against CoreRx in Florida and Delaware

were styled as a notice of dismissal, both were pursuant to the mutual agreement between the

parties, not the unilateral action by the plaintiff needed to invoke the “two-dismissal” rule. As a

result, the reason for the rule—to restrict a plaintiff’s ability to file numerous lawsuits only to

voluntarily dismiss the complaints before the defendant has time to respond—is not implicated.

Azurity filed two lawsuits against CoreRx to enforce Azurity’s intellectual property rights under

federal law. Because Azurity’s litigation against Bionpharma in Delaware involved the same

infringing product—the generic version of Epaned® manufactured by CoreRx—Azurity filed a

complaint against CoreRx in Delaware. No. 21-1522 D.I. 1, ¶ 6. However, as CoreRx is a Florida

corporation with its place of business in Florida, Azurity also filed suit in the Middle District of

Florida. Ex. A, ¶ 6. Azurity and CoreRx subsequently resolved their dispute by mutual agreement.

Patel Decl., ¶ 6. This is further evidenced by the fact that the parties filed a stipulation of a joint

dismissal of the suits. Ex. C. Regardless of the timing of this stipulation, it evidences the parties’

clear intent to dismiss the actions pursuant to a mutual agreement. See Sysco, 338 B.R. at 624-25.

Therefore, although both originally-filed dismissals were characterized as a “notice,” the two-

dismissal rule does not apply, and the dismissals do not operate as an adjudication on the merits

under Fed. R. Civ. P. 41(a)(1)(B).

               2.      Bionpharma is not in privity nor interrelated with CoreRx

       Because Bionpharma’s first argument fails, this Court need go no further and may deny

Bionpharma’s motion because Bionpharma’s privity argument assumes the two-dismissal rule

applies, which it does not. But even assuming arguendo it does, the rule’s preclusive effect would

not extend to Bionpharma. Bionpharma was not a party to either of the earlier suits Azurity filed

against CoreRx, nor has Bionpharma shown it is in privity with CoreRx, nor are the parties so



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substantially interrelated such that an adjudication on the merits with respect to CoreRx would

extend to Bionpharma.

       In its brief in support of its motion to dismiss, Bionpharma relied heavily on the contractual

agreement between Bionpharma and CoreRx for CoreRx to manufacture Bionpharma’s ANDA

Product and sell the ANDA Product to Bionpharma.6 Op. Br. at 9-12. However, a simple

collaboration and a contract to manufacture do not demonstrate “privity” with another entity for

purposes of Rule 41(a)(1)(B). 7 See S. Snow Mfg. Co. v. SnoWizard Holdings, Inc., 567 F. App’x

945, 960 (Fed. Cir. 2014) (“As we have held in Transclean, with regard to questions of intellectual

property infringement and invalidity, the person who buys an allegedly infringing product is not

considered to be in privity with the person who sells him the product.”). Far from supporting any



6
   Notably, Bionpharma failed to attach the Master Manufacturing Supply Agreement
(“Manufacturing agreement”) to support of its motion, despite having the burden to establish
privity and despite having attached it to other court filings. See, e.g. D.I. 105-1; Ex. E at Ex. A.
7
  Bionpharma also argues an indemnification clause in Bionpharma’s Manufacturing Agreement
with CoreRx indicates the two entities are in privity. However, Bionpharma does not allege in its
opening brief that Bionpharma actually indemnified CoreRx as a result of Azurity’s suit against
CoreRx. In fact, the terms of Bionpharma’s agreement with CoreRx call Bionpharma’s
representation that it has supposedly agreed to indemnify CoreRx into serious question, because
the actual terms of the agreement do not support that assertion. D.I. 105-1, compare § 13.1
(indemnifying CoreRx from “a claim by a Third Party that the use of the Bion Intellectual Property
[including Know-How] by CoreRx (as directed by Bion) to Manufacture Product for Bion
hereunder infringes the intellectual property rights of such Third Party; or (b) the sale of a Product
by Bion . . ., except in each case to the extent CoreRx is obligated to indemnify Bion pursuant
to Section 13.2”) (emphasis added) with § 13.2 (CoreRx indemnification of Bionpharma for, inter
alia, “(d) a Manufacturing Infringement Claim”) (emphasis added). Thus, Bionpharma’s claims
of any indemnity obligations under this agreement are simply not supported. Furthermore, it
appears that Bionpharma had no right to participate in, control, or even be involved in any
settlement of any suit brought against CoreRx. See id. at § 10.6 (requiring Bionpharma and
CoreRx to “consult in good faith regarding the best response” to any “notice of infringement . . .
concerning the Manufacture, use, importation, offer for sale, or sale of a Product in the Territory”).
For these reasons, Bionpharma’s reliance on Trustees of Boston Univ. v. Kingbright Elec. Co., 427
F. Supp. 3d 246, 252 (D. Mass. 2019) (see Op. Br. fn 8), to the extent relevant or supportive at all,
is inapplicable.


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aligned interests, the agreement supports the opposite—Bionpharma and CoreRx had separate

interests that they would separately attend to without any interference or input from the other party.

                               Bionpharma’s cited cases are not supportive

       Bionpharma cites two cases regarding its alleged privity with CoreRx, neither which are

supportive: Sai Ram Imports Inc. v. Meenakshi Overseas LLC, No. 17-11872 (JLL), 2018 WL

2045996 (D.N.J. May 1, 2018) and Watson v. Mylan Pharm., Inc., No. 18-04137-CM-JPO, 2019

W.L. 3252745 (D. Kan. July 18, 2019). In Sai Ram, an Indian manufacturer (VVV) filed an

opposition in the United States Patent and Trademark Office (“USPTO”) to defendant

Meenakshi’s trademark application, which was appealed to the Trademark Trial and Appeal Board

(“TTAB”). 2018 WL 2045996 at *1. The manufacturer failed to respond to the TTAB and a

default judgment was entered. Id. The manufacturer subsequently filed a petition with the TTAB

to cancel defendant’s trademarks as well as an action in the District Court for the Eastern District

of California (“EDCA”) to invalidate the trademarks. Id. at *2. Both the TTAB and the EDCA

dismissed the manufacturer’s claims based on res judicata pursuant to the default judgment from

the TTAB. Id. The manufacturer then attempted to amend its Complaint in the EDCA to include

a claim that the mark was procured through fraud. Id. The Court found the amendment would be

“frivolous” as res judicata precluded all grounds for which recovery could have been asserted. Id.

Subsequently, the defendant Mennakshi sent cease and desist letters to the plaintiff, American

importer Sai Ram, demanding it stop importing and selling VVV’s oils with the infringing

trademark. Sai Ram brought a declaratory judgment action seeking a finding that it was not

infringing defendant’s trademark based on the same grounds the Indian manufacturer, VVV had

indicated in its prior lawsuit and petition with TTAB. Id.

       The Court found that the American importer was raising the exact same claims

manufacturer VVV had attempted to file but was denied in the previous case and therefore was

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likewise estopped in the subsequent case. Id. at *4-5. Notably, manufacturer VVV had previously

stated that if it was not permitted to amend its EDCA claim to add the claim of fraud in the

procurement of the trademark, it “could have a third-party bring a suit alleging that claim in its

place.” Id. at *4 (emphasis added). In finding that the parties were in privity, the Court remarked,

“[i]t appears that VVV has done exactly that: the [EDCA] denied its motion to amend, … and

Plaintiffs filed this suit a few months later.” Id. (emphasis added). No similar situation exists

here. Azurity asserted valid patent rights against Bionpharma’s manufacturer, CoreRx, once able

under the statute.8 Litigation against Bionpharma was previously pending on the same claims.

Azurity is not trying to end-run this, or any other, previous judgment.

       Watson similarly does not support Bionpharma’s attempt to stretch privity here. The court

in Watson expressly noted the relationship between the manufacturer and the seller “is outside of

those relationships expressly recognized by the Tenth Circuit,” but that “under these circumstances

the relationship and similar litigation interests” were sufficiently close to establish privity. 2019

WL 3252745 at *4. “These circumstances” involved a suit against over ten defendants generally

alleging tort damages from a pro se plaintiff alleging harm from taking defendants’ drug. Id. at

*1. Importantly, the plaintiff had previously sued a subset of the defendants (including the seller,

but not the manufacturer) over essentially the same tort claims and that previous case had been

dismissed for failure to state a claim and affirmed by the Tenth Circuit on appeal. Id. Finding the

prior dismissal extended to all subsequently-named defendants, the Court found claim preclusion

barred all claims. Id. at *4.

       Not only is the overall situation here demonstrably distinct, unlike in Watson, the litigation

interests of the defendants, Bionpharma and CoreRx, clearly do not align. Indeed, Bionpharma’s


8
 Azurity could not previously file suit against CoreRx as 35 U.S.C. § 271(e)(2)(A) creates a claim
of constructive infringement for those who “submit” an ANDA application, here, Bionpharma.

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recent motion to intervene in Azurity’s suit against CoreRx demonstrate that CoreRx and

Bionpharma’s positions are dissimilar. Ex. D. Furthermore, the action Bionpharma filed against

CoreRx in the Southern District of New York further shows the inconsistent positions of

Bionpharma and CoreRx. See e.g., Ex. E, ¶¶ 17-23; see also Nationwide Mut. Fire Ins. Co. v.

George V. Hamilton, Inc., 571 F.3d 299, 313 (3d Cir. 2009) (“Under the ‘adequate representation’

exception, the interests of the party and nonparty must be squarely aligned.”).

                                The proper test shows Bionpharma is not in privity with
                                CoreRx

       Instead of utilizing the vague test Bionpharma propounds, this Court has held that privity

in such cases should be analyzed under the Taylor framework. St. Clair, 2020 WL 6799261 at *4;

see also Nationwide, 571 F.3d at 312-13 (applying the Taylor factors to determine privity for

purposes of the “two-dismissal” rule). Looking to the Taylor factors, Bionpharma only alleges

facts related to the second factor, where there is a preexisting substantive legal relationship.

Bionpharma’s application of the second Taylor factor falls short.9

       In St. Clair, the Court determined that two groups of different Samsung entities (Samsung

Electronics,   Co.   (“SEC”),     Samsung    Electronics    America,    Inc.   (“SEA”),    Samsung

Telecommunications America, LLC (“STA”) in one group (collectively, “Samsung”); and

Samsung Electronics USA, Inc. (“SE USA”) in the other) were not in privity for purposes of the

“two-dismissal” rule.10 2020 WL 6799261 at *3. The parties agreed that two prior dismissals of


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  As Bionpharma has not raised any facts pertinent to the other factors, it is precluded from arguing
those factors should apply in the reply as a party cannot raise new arguments in reply that it could
have and should have raised in its opening motion. United States v. Ford Motor Co., 463 F.3d
1267, 1276-77 (Fed. Cir. 2006). If Bionpharma does raise other factors, Azurity reserves the right
to respond accordingly.
10
  The Court previously considered and found that there was no privity between these groups in a
motion to dismiss from the defendant, but defendant brought the issue forward again after
discovery in a summary judgment motion. See St. Clair, 291 F.R.D. 75.

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litigation alleging infringement of the same patents by the same products were sufficient under

Rule 41(a)(1)(B) to operate as an adjudication on the merits. Id. The defendant noted many of the

intertwined relationships between these two groups: SE USA was created by SEA to carry on

SEA’s business, SE USA’s management was created to overlap SEA’s management, SE USA’s

corporate files were maintained in SEA’s files, SEA paid SE USA’s corporate taxes for years,

Samsung has paid SE USA’s corporate taxes for years, Samsung has defended SE USA in

infringement lawsuits, and SEC engaged legal counsel for SE USA after being sued by plaintiff

St. Clair. Id. at *4. Despite this close relationship between the two groups, after analyzing the

exceptions to the nonparty preclusion rule from Taylor, this Court concluded the two groups were

not in privity for purposes of the “two-dismissal” rule. Id. at *4-6.

       Here, Bionpharma and CoreRx are wholly separate companies lacking any corporate

relationship. Bionpharma contracted with CoreRx to manufacturer Bionpharma’s ANDA Product.

In fulfilling that agreement, Bionpharma worked with CoreRx in developing a generic version of

Azurity’s Epaned® product. The development and manufacturing agreements between these two

entities is the full extent of their relationship and the manufacturing agreement lacks any true

indemnity obligations (nor does Bionpharma allege that CoreRx tendered any indemnity claim).

Bionpharma does not allege either party had the right to control any suit brought by a third party

against the other, nor does Bionpharma allege that it has any rights to control how CoreRx may

resolve any action brought against it.       Furthermore, the parties had separate counsel and

Bionpharma has since sued CoreRx for breach of contract. Ex. E. Bionpharma has also moved to

intervene in the Middle District of Florida action, making clear Bionpharma and CoreRx do not

have a common interest in the resolution of that action. Ex. D. As a result, Bionpharma cannot

be considered to be in privity with CoreRx and therefore, even if Azurity’s dismissals of its suits



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against CoreRx operated as an adjudication on the merits (which is not the case), Bionpharma

could not claim such result extends to it, a nonparty not in privity with CoreRx.

VI.    CONCLUSION

       As in Bionpharma’s first motion to dismiss, it has again misapplied established case law in

an attempt to stall this litigation. Its efforts are unfounded in reason and fact and should be denied.

The “two-dismissal” rule simply does not apply. Azurity’s second dismissal against CoreRx was

a pursuant to an agreement between the parties. Because it arose from an agreement between the

parties, the dismissal does not trigger the “two-dismissal” rule. Additionally, Bionpharma was not

a party to Azurity’s actions against CoreRx, nor was it in privity with CoreRx such that any

preclusive effects should apply to both CoreRx and Bionpharma.

       For the foregoing reasons, Azurity respectfully requests that the Court deny Bionpharma’s

Motion to Dismiss.



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 December 20, 2021




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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 22, 2021, I caused the foregoing to be electronically

filed with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on

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